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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                            C.A. No. 1:18-cv-00588-GMS
                                  Plaintiff,

             v.                                             JURY TRIAL DEMANDED


WORKSPOT, INC.

                                  Defendant.



 STIPULATED PROTECTIVE ORDER FOR LITIGATION INVOLVING PATENTS,
HIGHLY SENSITIVE CONFIDENTIAL INFORMATION AND/OR TRADE SECRETS

        1.         PURPOSES AND LIMITATIONS

                   Disclosure and discovery activity in this action are likely to involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

Accordingly, the parties hereby stipulate to and petition the court to enter the following

Stipulated Protective Order. The parties acknowledge that this Order does not confer blanket

protections on all disclosures or responses to discovery and that the protection it affords from

public disclosure and use extends only to the limited information or items that are entitled to

confidential treatment under the applicable legal principles. The parties further acknowledge, as

set forth in Section 13.4, below, that this Stipulated Protective Order does not entitle them to file

confidential information under seal.           The parties will follow the court’s and the CM/ECF

Procedures for filing materials under seal.




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        2.         DEFINITIONS

                   2.1   Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.

                   2.2   “CONFIDENTIAL” Information or Items: information (regardless of how

it is generated, stored or maintained) or tangible things that qualify for protection under Federal

Rule of Civil Procedure 26(c).

                   2.3   Counsel (without qualifier): Outside Counsel of Record and House

Counsel (as well as their support staff).

                   2.4   Designated House Counsel: House Counsel who seek access to “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE” information in this matter.

                   2.5   Designating Party: a Party or Non-Party that designates information or

items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

– SOURCE CODE.”

                   2.6   Disclosure or Discovery Material: all items or information, regardless of

the medium or manner in which it is generated, stored, or maintained (including, among other

things, testimony, transcripts, and tangible things), that are produced or generated in disclosures

or responses to discovery in this matter.

                   2.7   Expert: a person with specialized knowledge or experience in a matter

pertinent to the litigation who (1) has been retained by a Party or its counsel to serve as an expert

witness or as a consultant in this action, (2) is not a current employee of a Party or of a Party’s
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competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party

or of a Party’s competitor.

                   2.8    “HIGHLY      CONFIDENTIAL         –   ATTORNEYS’        EYES      ONLY”

Information or Items: extremely sensitive “Confidential Information or Items,” disclosure of

which to another Party or Non-Party would create a substantial risk of serious harm that could

not be avoided by less restrictive means.

                   2.9    “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

extremely sensitive “Confidential Information or Items” representing computer code and

associated comments and revision histories, formulas, engineering specifications, or schematics

that define or otherwise describe in detail the algorithms or structure of software or hardware

designs, disclosure of which to another Party or Non-Party would create a substantial risk of

serious harm that could not be avoided by less restrictive means.

                   2.10   House Counsel: attorneys who are employees of a party to this action.

House Counsel does not include Outside Counsel of Record or any other outside counsel.

                   2.11   Non-Party: any natural person, partnership, corporation, association, or

other legal entity not named as a Party to this action.

                   2.12   Outside Counsel of Record: attorneys who are not employees of a party to

this action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.

                   2.13   Party: any party to this action, including all of its officers, directors,

employees, consultants, retained experts, and Outside Counsel of Record (and their support

staffs).
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                   2.14   Producing Party: a Party or Non-Party that produces Disclosure or

Discovery Material in this action.

                   2.15   Professional Vendors: persons or entities that provide litigation support

services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.

                   2.16   Protected Material: any Disclosure or Discovery Material that is

designated as “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY,” or as “HIGHLY CONFIDENTIAL – SOURCE CODE.”

                   2.17   Receiving Party: a Party that receives Disclosure or Discovery Material

from a Producing Party.

        3.         SCOPE

                   The protections conferred by this Stipulation and Order cover not only Protected

Material (as defined above), but also (1) any information copied or extracted from Protected

Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any

testimony, conversations, or presentations by Parties or their Counsel that might reveal Protected

Material. However, the protections conferred by this Stipulation and Order do not cover the

following information: (a) any information that is in the public domain at the time of disclosure

to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving

Party as a result of publication not involving a violation of this Order, including becoming part

of the public record through trial or otherwise; and (b) any information known to the Receiving

Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a source

who obtained the information lawfully and under no obligation of confidentiality to the
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Designating Party. Any use of Protected Material at trial shall be governed by a separate

agreement or order.

        4.         DURATION

                   Even after final disposition of this litigation, the confidentiality obligations

imposed by this Order shall remain in effect until a Designating Party agrees otherwise in writing

or a court order otherwise directs. Final disposition shall be deemed to be the later of (1)

dismissal of all claims and defenses in this action, with or without prejudice; and (2) final

judgment herein after the completion and exhaustion of all appeals, rehearings, remands, trials,

or reviews of this action, including the time limits for filing any motions or applications for

extension of time pursuant to applicable law.

        5.         DESIGNATING PROTECTED MATERIAL

                   5.1    Exercise of Restraint and Care in Designating Material for Protection.

Each Party or Non-Party that designates information or items for protection under this Order

must take care to limit any such designation to specific material that qualifies under the

appropriate standards. To the extent it is practical to do so, the Designating Party must designate

for protection only those parts of material, documents, items, or oral or written communications

that qualify – so that other portions of the material, documents, items, or communications for

which protection is not warranted are not swept unjustifiably within the ambit of this Order.

                   Mass, indiscriminate, or routinized designations are prohibited. Designations that

are shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.


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                   If it comes to a Designating Party’s attention that information or items that it

designated for protection do not qualify for protection at all or do not qualify for the level of

protection initially asserted, that Designating Party must promptly notify all other parties that it

is withdrawing the mistaken designation.

                   5.2    Manner and Timing of Designations. Except as otherwise provided in this

Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

        Designation in conformity with this Order requires:

                          (a) for information in documentary form (e.g., paper or electronic

documents, but excluding transcripts of depositions or other pretrial or trial proceedings), that the

Producing Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each

page that contains protected material. If only a portion or portions of the material on a page

qualifies for protection, the Producing Party also must clearly identify the protected portion(s)

(e.g., by making appropriate markings in the margins) and must specify, for each portion, the

level of protection being asserted.

        A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents it wants

copied and produced, the Producing Party must determine which documents, or portions thereof,
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qualify for protection under this Order. Then, before producing the specified documents, the

Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE) to each page that contains Protected Material. If only a portion or portions of the

material on a page qualifies for protection, the Producing Party also must clearly identify the

protected portion(s) (e.g., by making appropriate markings in the margins) and must specify, for

each portion, the level of protection being asserted.

                       (b) for testimony given in deposition or in other pretrial or trial

proceedings, that the Designating Party identify on the record all protected testimony and specify

the level of protection being asserted. By right, the Designating Party shall have 21 days from the

date of the deposition, hearing or other proceeding to identify the specific portions of the

testimony as to which protection is sought and to specify the level of protection being asserted.

Only those portions of the testimony that are appropriately designated for protection within the

21 days shall be covered by the provisions of this Stipulated Protective Order. Alternatively, a

Designating Party may specify, at the deposition or up to 21 days afterwards if that period is

properly invoked, that the entire transcript shall be treated as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

        Parties shall give the other parties notice if they reasonably expect a deposition, hearing

or other proceeding to include Protected Material so that the other parties can ensure that only

authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

(Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
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        Transcripts containing Protected Material shall have an obvious legend on the title page

that the transcript contains Protected Material, and the title page shall be followed by a list of all

pages (including line numbers as appropriate) that have been designated as Protected Material

and the level of protection being asserted by the Designating Party. The Designating Party shall

inform the court reporter of these requirements. Any transcript that is prepared before the

expiration of a 21-day period for designation shall be treated during that period as if it had been

designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless

otherwise agreed. After the expiration of that period, the transcript shall be treated only as

actually designated.

                   (c) for information produced in some form other than documentary and for any

other tangible items, that the Producing Party affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend “CONFIDENTIAL”

or   “HIGHLY             CONFIDENTIAL     –   ATTORNEYS’         EYES     ONLY”      or   “HIGHLY

CONFIDENTIAL – SOURCE CODE.” If only a portion or portions of the information or item

warrant protection, the Producing Party, to the extent practicable, shall identify the protected

portion(s) and specify the level of protection being asserted.

                   5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent

failure to designate qualified information or items does not, standing alone, waive the

Designating Party’s right to secure protection under this Order for such material. Upon timely

correction of a designation, the Receiving Party must make reasonable efforts to assure that the

material is treated in accordance with the provisions of this Order.

        6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS


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                   6.1   Timing of Challenges. Any Party or Non-Party may challenge a

designation of confidentiality at any time. Unless a prompt challenge to a Designating Party’s

confidentiality designation is necessary to avoid foreseeable, substantial unfairness, unnecessary

economic burdens, or a significant disruption or delay of the litigation, a Party does not waive its

right to challenge a confidentiality designation by electing not to mount a challenge promptly

after the original designation is disclosed.

                   6.2   Meet and Confer. The Challenging Party shall initiate the dispute

resolution process by providing written notice of each designation it is challenging and

describing the basis for each challenge. To avoid ambiguity as to whether a challenge has been

made, the written notice must recite that the challenge to confidentiality is being made in

accordance with this specific paragraph of the Protective Order. The parties shall attempt to

resolve each challenge in good faith and must begin the process by conferring directly (in voice

to voice dialogue; other forms of communication are not sufficient) within 14 days of the date of

service of notice. In conferring, the Challenging Party must explain the basis for its belief that

the confidentiality designation was not proper and must give the Designating Party an

opportunity to review the designated material, to reconsider the circumstances, and, if no change

in designation is offered, to explain the basis for the chosen designation. A Challenging Party

may proceed to the next stage of the challenge process only if it has engaged in this meet and

confer process first or establishes that the Designating Party is unwilling to participate in the

meet and confer process in a timely manner.




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                   6.3   Judicial Intervention. If the Parties cannot resolve a challenge without

court intervention, the Challenging Party shall raise a dispute with the Court using the Court’s

dispute resolution process within 21 days of the initial notice of challenge or within 14 days of

the parties agreeing that the meet and confer process will not resolve their dispute, whichever is

later. Failure by the Challenging Party to raise such a dispute within 21 days (or 14 days, if

applicable) shall automatically waive the ability to challenge the confidentiality designation for

each challenged designation. In addition, the Challenging Party may raise a dispute with the

Court using the Court’s dispute resolution process at any time if there is good cause for doing so,

including a challenge to the designation of a deposition transcript or any portions thereof.

        Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. All parties shall continue to afford the material in question the level of protection to

which it is entitled under the Producing Party’s designation until the court rules on the challenge.

        7.         ACCESS TO AND USE OF PROTECTED MATERIAL

                   7.1   Basic Principles. A Receiving Party may use Protected Material that is

disclosed or produced by another Party or by a Non-Party in connection with this case only for

prosecuting, defending, or attempting to settle this litigation. Neither a Receiving Party nor

Outside Counsel of Record of a Receiving Party may use Protected Material that is disclosed or

produced by another Party or by a Non-Party in this case in connection with any other litigation,

including, but not limited to, any other litigation that involves one or more of the Parties to this

litigation. Protected Material may be disclosed only to the categories of persons and under the

conditions described in this Order. When the litigation has been terminated, a Receiving Party

must comply with the provisions of section 14 below (FINAL DISPOSITION).
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                   Protected Material must be stored and maintained by a Receiving Party at a

location and in a secure manner that ensures that access is limited to the persons authorized

under this Order.

                   7.2   Patent Prosecution Bar. Absent written consent from the Producing Party,

any individual who receives information designated “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” shall not be

involved in the prosecution of patents or patent applications relating to the subject matter of the

patents-in-suit before any foreign or domestic agency, including the United States Patent and

Trademark Office, until one year after final disposition of this litigation. For purposes of this

paragraph “involved in the prosecution” shall mean directly or indirectly drafting, amending, or

advising others who are drafting or amending patent claims.           The prosecution bar in this

paragraph shall not bar counsel from participating in post-grant proceedings of any kind

(whether on behalf of the patent owner or the petitioner), except that patent owner’s counsel

subject to the restrictions of this paragraph shall not participate in or provide advice regarding

the amendment of claims in any post grant proceeding.

                   7.3   Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

disclose any information or item designated “CONFIDENTIAL” only to:

                         (a) the Receiving Party’s Outside Counsel of Record in this action, as well

as employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose

the information for this litigation;




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                         (b) the officers, directors, and employees (including House Counsel) of the

Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                         (c) Experts (as defined in this Order) of the Receiving Party to whom

disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment

and Agreement to Be Bound” (Exhibit A);

                         (d) the court and its personnel;

                         (e) court reporters and their staff, professional jury or trial consultants, and

Professional Vendors to whom disclosure is reasonably necessary for this litigation and who

have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                         (f) during their depositions, witnesses in the action to whom disclosure is

reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”

(Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

separately bound by the court reporter and may not be disclosed to anyone except as permitted

under this Stipulated Protective Order.

                         (g) the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information.

                   7.4   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY” and “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless

otherwise ordered by the court or permitted in writing by the Designating Party, a Receiving

Party may disclose any information or item designated “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:
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                         (a) the Receiving Party’s Outside Counsel of Record in this action, as well

as employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose

the information for this litigation;

                         (b) Experts of the Receiving Party (1) to whom disclosure is reasonably

necessary for this litigation, (2) who have signed the “Acknowledgment and Agreement to Be

Bound” (Exhibit A), and (3) as to whom the procedures set forth in paragraph 7.5(a), below,

have been followed;

                         (c) the court and its personnel;

                         (d) court reporters and their staff, professional jury or trial consultants, and

Professional Vendors to whom disclosure is reasonably necessary for this litigation and who

have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

                         (e) the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information.

                   7.5   Procedures for Approving or Objecting to Disclosure of “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

CODE” Information or Items to Experts.

                         (a) Unless otherwise ordered by the court or agreed to in writing by the

Designating Party, a Party that seeks to disclose to an Expert (as defined in this Order) any

information or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph

7.4(b) first must make a written request to the Designating Party that (1) sets forth the full name

of the Expert and the city and state of his or her primary residence, (2) attaches a copy of the

Expert’s current resume, (3) identifies the Expert’s current employer(s), (4) identifies each
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person or entity from whom the Expert has received compensation or funding for work in his or

her areas of expertise or to whom the expert has provided professional services, including in

connection with a litigation, at any time during the preceding five years,1 and (5) identifies (by

name and number of the case, filing date, and location of court) any litigation in connection with

which the Expert has offered expert testimony, including through a declaration, report, or

testimony at a deposition or trial, during the preceding five years.

                       (b) A Party that makes a request and provides the information specified in

the preceding respective paragraphs may disclose the subject Protected Material to the identified

Expert unless, within five (5) days of delivering the request (unless otherwise agreed to by

counsel), the Party receives a written objection from the Designating Party. Any such objection

must set forth in detail the grounds on which it is based.

                       (c) A Party that receives a timely written objection must meet and confer

with the Designating Party (through direct voice to voice dialogue) to try to resolve the matter by

agreement within three (3) days of the written objection (unless otherwise agreed to by counsel).

If no agreement is reached, the Party seeking to make the disclosure to the Expert may file a

motion seeking permission from the court to do so. Any such motion must describe the

circumstances with specificity, set forth in detail the reasons why the disclosure to the Expert is

reasonably necessary, assess the risk of harm that the disclosure would entail, and suggest any

additional means that could be used to reduce that risk. In addition, any such motion must be


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         If the Expert believes any of this information is subject to a confidentiality obligation to
a third-party, then the Expert should provide whatever information the Expert believes can be
disclosed without violating any confidentiality agreements, and the Party seeking to disclose to
the Expert shall be available to meet and confer with the Designating Party regarding any such
engagement.

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accompanied by a competent declaration describing the parties’ efforts to resolve the matter by

agreement (i.e., the extent and the content of the meet and confer discussions) and setting forth

the reasons advanced by the Designating Party for its refusal to approve the disclosure.

        In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

outweighs the Receiving Party’s need to disclose the Protected Material to its Expert.

                   7.6   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY” Information or Items. Unless otherwise ordered by the court or permitted in writing by

the Designating Party, a Receiving Party may disclose any information or item designated

“HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to one Designated House

Counsel of the Receiving Party (1) to whom disclosure is reasonably necessary for this litigation,

(2) who has signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as

to whom the procedures set forth in paragraph 7.7, below, have been followed.

                   7.7   Procedures for Approving or Objecting to Disclosure of “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to Designated House Counsel.

                         (a) Unless otherwise ordered by the court or agreed to in writing by the

Designating Party, a Party that seeks to disclose to Designated House Counsel any information

or item that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

pursuant to paragraph 7.6 first must make a written request to the Designating Party that (1) sets

forth the full name of the Designated House Counsel and the city and state of his or her

residence, and (2) describes the Designated House Counsel’s current and reasonably foreseeable

future primary job duties and responsibilities.


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                         (b) A Party that makes a request and provides the information specified in

the preceding respective paragraphs may disclose the subject Protected Material to the identified

Designated House Counsel unless, within five (5) days of delivering the request (unless

otherwise agreed to by counsel), the Party receives a written objection from the Designating

Party. Any such objection must set forth in detail the grounds on which it is based.

                         (c) A Party that receives a timely written objection must meet and confer

with the Designating Party (through direct voice to voice dialogue) to try to resolve the matter by

agreement within three (3) days of the written objection (unless otherwise agreed to by counsel).

If no agreement is reached, the Party seeking to make the disclosure to Designated House

Counsel may file a motion seeking permission from the court to do so. Any such motion must

describe the circumstances with specificity, set forth in detail the reasons why the disclosure to

Designated House Counsel is reasonably necessary, assess the risk of harm that the disclosure

would entail, and suggest any additional means that could be used to reduce that risk. In addition,

any such motion must be accompanied by a competent declaration describing the parties’ efforts

to resolve the matter by agreement (i.e., the extent and the content of the meet and confer

discussions) and setting forth the reasons advanced by the Designating Party for its refusal to

approve the disclosure.

        8.         SOURCE CODE

                   (a)   To the extent production of source code becomes necessary in this case, a

Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”

if it comprises or includes confidential, proprietary or trade secret source code.

                   (b)   Protected Material designated as “HIGHLY CONFIDENTIAL –

SOURCE CODE” shall be subject to all of the protections afforded to “HIGHLY
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CONFIDENTIAL – ATTORNEYS’ EYES ONLY” information, and may be disclosed only to

the individuals to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

information may be disclosed, as set forth in Paragraphs 7.4 and 7.5.

                   (c)   Any source code produced in discovery shall be made available for

inspection, in a format allowing it to be reasonably reviewed and searched, during normal

business hours or at other mutually agreeable times, at an office of the Producing Party’s counsel

or another mutually agreed upon location. The source code shall be made available for inspection

on a secured computer (hereinafter “Confidential Source Code Computer”) in a secured room

without Internet access or network access to other computers, and the Receiving Party shall not

copy, remove, or otherwise transfer any portion of the source code onto any recordable media or

recordable device. The Producing Party may visually monitor the activities of the Receiving

Party’s representatives during any source code review, but only to ensure that there is no

unauthorized recording, copying, or transmission of the source code. Outside counsel may

request that additional software tools be installed on the secured computer or computers to assist

the reviewing Party’s review of the source code. If the Parties are unable to agree on the

additional requested software tools, they may seek an Order from the Court after making a good

faith effort to resolve their dispute.

                   (d)   The Confidential Source Code Computer shall be equipped with a printer

with commercially reasonable printing speeds to print copies of the Source Code on pre-Bates

numbered paper, which shall be provided by the Producing Party. The Receiving Party shall be

allowed print those portions of source code that it, in good faith, considers necessary to the

preparation of its case, and may remove the print outs from the premises of the source code

custodians but only after the Producing Party has (i) reviewed such hard copies for compliance
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with this Protective Order, and (ii) made its own copies of the hard copy source code.           A

Receiving Party shall not, however, print hard copies of source code for the purposes of

reviewing the source code in the first instance. If the Producing Party objects that the printed

portions are excessive and/or not done for a permitted purpose, the Producing Party shall make

such objection known to the Receiving Party within five (5) days. Printed portions that exceed

30 continuous pages or 575 total pages or more shall be presumed excessive and not done for a

permitted purpose. Subject to any challenge related to the amount of source code printed, the

Producing Party shall provide all such source code in paper form including bates numbers and

the label “HIGHLY CONFIDENTIAL - SOURCE CODE” no later than five (5) business days

after such source code is printed (unless otherwise agreed to by counsel). The Producing Party

may challenge the amount of source code requested in hard copy form pursuant to the dispute

resolution procedure and timeframes set forth in Paragraph 6 whereby the Producing Party is the

“Challenging Party” and the Receiving Party is the “Designating Party” for purposes of dispute

resolution.

                   (e)   The Receiving Party shall maintain a record of any individual who has

inspected any portion of the source code in electronic or paper form. The Receiving Party shall

make such record available to the Producing Party upon demand. The Receiving Party shall

maintain all paper copies of any printed portions of the source code in a secured, locked area.

The Receiving Party shall not create any electronic or other images of the paper copies and shall

not convert any of the information contained in the paper copies into any electronic format. The

Receiving Party shall only make additional paper copies if such additional copies are (1)

necessary to prepare court filings, pleadings, or other papers (including a testifying expert’s

expert report), (2) necessary for deposition, or (3) otherwise necessary for the preparation of its
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case. Any paper copies used during a deposition shall be retrieved by the Producing Party at the

end of each day and must not be given to or left with a court reporter or any other individual.

        9.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                   IN OTHER LITIGATION

                   If a Party is served with a subpoena or a court order issued in other litigation that

compels disclosure of any information or items designated in this action as “CONFIDENTIAL”

or   “HIGHLY          CONFIDENTIAL          –   ATTORNEYS’         EYES     ONLY”      or   “HIGHLY

CONFIDENTIAL – SOURCE CODE,” prior to disclosure of the designated information or

items that Party must:

                   (a) promptly notify in writing the Designating Party. Such notification shall

include a copy of the subpoena or court order;

                   (b) promptly notify in writing the party who caused the subpoena or order to issue

in the other litigation that some or all of the material covered by the subpoena or order is subject

to this Protective Order. Such notification shall include a copy of this Stipulated Protective

Order; and

                   (c) cooperate with respect to all reasonable procedures sought to be pursued by

the Designating Party whose Protected Material may be affected.

                   If the Designating Party timely seeks a protective order, the Party served with the

subpoena or court order shall not produce any information designated in this action as

“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

“HIGHLY CONFIDENTIAL – SOURCE CODE” before a determination by the court from

which the subpoena or order issued, unless the Party has obtained the Designating Party’s

permission. The Designating Party shall bear the burden and expense of seeking protection in

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that court of its confidential material – and nothing in these provisions should be construed as

authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from

another court.

        10.        A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                   PRODUCED IN THIS LITIGATION

                   (a)   The terms of this Order are applicable to information produced by a Non-

Party in this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such

information produced by Non-Parties in connection with this litigation is protected by the

remedies and relief provided by this Order. Nothing in these provisions should be construed as

prohibiting a Non-Party from seeking additional protections.

                   (b)   In the event that a Party is required, by a valid discovery request, to

produce a Non-Party’s confidential information in its possession, and the Party is subject to an

agreement with the Non-Party not to produce the Non-Party’s confidential information, then the

Party shall:

                         1.     promptly notify in writing the Requesting Party and the Non-Party

that some or all of the information requested is subject to a confidentiality agreement with a

Non-Party;

                         2.     promptly provide the Non-Party with a copy of the Stipulated

Protective Order in this litigation, the relevant discovery request(s), and a reasonably specific

description of the information requested; and

                         3.     make the information requested available for inspection by the

Non-Party.

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                   (c)    If the Non-Party fails to object or seek a protective order from this court

within 14 days of receiving the notice and accompanying information, the Receiving Party may

produce the Non-Party’s confidential information responsive to the discovery request. If the

Non-Party timely seeks a protective order, the Receiving Party shall not produce any information

in its possession or control that is subject to the confidentiality agreement with the Non-Party

before a determination by the court. Absent a court order to the contrary, the Non-Party shall

bear the burden and expense of seeking protection in this court of its Protected Material.

        11.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

                   If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed

Protected Material to any person or in any circumstance not authorized under this Stipulated

Protective Order, the Receiving Party must immediately (a) notify in writing the Designating

Party of the unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of

the Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Order, and (d) request such person or persons to execute the

“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

        12.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                   PROTECTED MATERIAL

                   When a Producing Party gives notice to a Receiving Party that certain

inadvertently produced material is subject to a claim of privilege or other protection, the

obligations of the Receiving Party are those set forth in Federal Rule of Civil Procedure

26(b)(5)(B). This provision is not intended to modify whatever procedure may be established in

an e-discovery order that provides for production without prior privilege review. Pursuant to

Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect

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of disclosure of a communication or information covered by the attorney-client privilege or work

product protection, the parties may incorporate their agreement in the stipulated protective order

submitted to the court.

        13.        MISCELLANEOUS

                   13.1   Right to Further Relief. Nothing in this Order abridges the right of any

person to seek its modification by the court or by agreement of the Parties in the future.

                   13.2   Right to Assert Other Objections. By stipulating to the entry of this

Protective Order no Party waives any right it otherwise would have to object to disclosing or

producing any information or item on any ground not addressed in this Stipulated Protective

Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of

the material covered by this Protective Order.

                   13.3   Export Control. Disclosure of Protected Material shall be subject to all

applicable laws and regulations relating to the export of technical data contained in such

Protected Material, including the release of such technical data to foreign persons or nationals in

the United States or elsewhere. The Producing Party shall be responsible for identifying any such

controlled technical data, and the Receiving Party shall take measures necessary to ensure

compliance.

                   13.4   Filing Protected Material. Without written permission from the

Designating Party or a court order secured after appropriate notice to all interested persons, a

Party may not file in the public record in this action any Protected Material. A Party that seeks to

file under seal any Protected Material must comply with the court’s rules and procedures for

doing so. Protected Material may only be filed under seal pursuant to a court order authorizing

the sealing of the specific Protected Material at issue. If a Receiving Party's request to file
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Protected Material under seal is denied by the court, then the Receiving Party may file the

Protected Material in the public record unless otherwise instructed by the court.

        14.        FINAL DISPOSITION

                   Within 60 days after the final disposition of this action, as defined in paragraph 4,

each Receiving Party must return all Protected Material to the Producing Party or destroy such

material. As used in this subdivision, “all Protected Material” includes all copies, abstracts,

compilations, summaries, and any other format reproducing or capturing any of the Protected

Material. Whether the Protected Material is returned or destroyed, the Receiving Party must

submit a written certification to the Producing Party (and, if not the same person or entity, to the

Designating Party) by the 60-day deadline that (1) identifies (by category, where appropriate) all

the Protected Material that was returned or destroyed and (2) affirms that the Receiving Party has

not retained any copies, abstracts, compilations, summaries or any other format reproducing or

capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled to

retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,

legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney work

product, and consultant and expert work product, even if such materials contain Protected

Material. Any such archival copies that contain or constitute Protected Material remain subject to

this Protective Order as set forth in Section 4 (DURATION).




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Dated: June 15, 2018

DLA PIPER LLP (US)                             POTTER ANDERSON & CORROON LLP

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SO ORDERED this _____ day of ________________, 2018


                                          THE HONORABLE GREGORY M. SLEET
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                                          EXHIBIT A

        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        I, _____________________________ [print or type full name], of _________________

[print or type full address], declare under penalty of perjury that I have read in its entirety and

understand the Stipulated Protective Order that was issued by the United States District Court for

the District of Delaware on [date] in the case of Citrix Systems, Inc. v. Workspot, Inc., Civil

Action No. 1:18-cv-00588-GMS. I agree to comply with and to be bound by all the terms of this

Stipulated Protective Order and I understand and acknowledge that failure to so comply could

expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

not disclose in any manner any information or item that is subject to this Stipulated Protective

Order to any person or entity except in strict compliance with the provisions of this Order.

        I further agree to submit to the jurisdiction of the United States District Court for the

District of Delaware for the purpose of enforcing the terms of this Stipulated Protective Order,

even if such enforcement proceedings occur after termination of this action.

        I hereby appoint __________________________ [print or type full name] of

_______________________________________ [print or type full address and telephone

number] as my Delaware agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order.


Date: _________________________________

City and State where sworn and signed: _________________________________

                                             Printed name: ______________________________


                                             Signature: _________________________________




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